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7 UNITED STATES DISTRICT COURT

8 CENTRAL DISTRICT OF CALIFORNIA

9

10 | UNITED STATES OF AMERICA, Case No. 2: 21-mJ~ OuDts. n
. Pena ORDER OF DETENTION

Vv.

13

ua Tuan Cavlos Sotele

15 Defendant.

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17 I.

18 A.() On motion of the Government in a case allegedly involving:

19 l.() acrime of violence.

20 2.() an offense with maximum sentence of life imprisonment or death.
21 3. (.) anarcotics or controlled substance offense with maximum sentence
22 of ten or more years. .

23 4.() any felony - where the defendant has been convicted of two or
24 more prior offenses described above.
25 5. () any felony that is not otherwise a crime of violence that involves a
26 minor victim, or possession or use of a firearm or destructive device or
27 any other dangerous weapon, or a failure to register under 18 U.S.C
ras § 2250.

    

; - ORDER OF DETENTION AFTER (18US.C.§31420)
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BX) On motion by the Government /( ) on Court’s own motion, in a case
allegedly involving:
~Y On the further allegation by the Government of:
1. SX aserious risk that the defendant will flee.
2.() aserious risk that the defendant will:
a.( ) obstruct or attempt to obstruct justice.
b.( ) threaten, injure, or intimidate a prospective witness or juror or
attempt to do so.
C. The Government ( ) is/( ) is not entitled to a rebuttable presumption that no

condition or combination of conditions will reasonably assure the defendant’s

appearance as required and the safety of any person or the community.
Il,
A.{) The Court finds that no condition or combination of conditions will

reasonably assure:
1 () the appearance of the defendant as required.
() and/or |
2.() the safety of any person or the community.
B.() The Court finds that the defendant has not rebutted by sufficient
evidence to the contrary the presumption provided by statute.
1.

The Court has considered:

A. the nature and circumstances of the offense(s) charged, including whether the
offense is a crime of violence, a Federal crime of terrorism, or involves a minor
victim or a controlled substance, firearm, explosive, or destructive device;

B. the weight of evidence against the defendant;

C. the history and characteristics of the defendant; and

D. the nature and seriousness of the danger to any person or to the community.

 

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IV.

The Court also has considered all the evidence adduced at the hearing and the

arguments and/or statements of counsel, and the Pretrial Services

Report/recommendation.
V.
The Court bases the foregoing finding(s) on the following:
A. &) As to flight risk:
Se Lack of bail resources
0 Refusal to interview with Pretrial Services
O No stable residence or employment
O Previous failure to appear or violations or probation, parole, or
release
2 Ties to foreign countries
O Unrebutted presumption [18 U.S.C. § 3142(e)(2)]
Yt = Prol emavels 5 USL otf aliases

 

 

BJ Asto danger:
Nw Nature of previous criminal convictions
O Allegations in present charging document
Ke Substance abuse
4 Already in custody on state or federal offense
O Unrebutted presumption [18 U.S.C. §3 142(e)(2)]
Evicti — Proteti VO of a ers

 

 

C.() Defendant submitted to detention

 
   

crs ORDER OF DETENTION AFTER enone as U.S.C. §3142(1))
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1 VI.

2 A.() The Court finds that a serious risk exists that the defendant will:
3 1.( ) obstruct or attempt to obstruct justice.

4 2. (_) attempt to/( ) threaten, injure or intimidate a witness or juror.

5 B. The Court bases the foregoing finding(s) on the following:

 

 

 

 

 

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11 : VII.

12 A, ITIS THEREFORE ORDERED that the defendant be detained prior to trial.
13 B. IT IS FURTHER ORDERED that the defendant be committed to the custody

 

14 of the Attorney General for confinement in a corrections facility separate, to
15 | the extent practicable, from persons awaiting or serving sentences or being
16 held in custody pending appeal. .

17 C. IT IS FURTHER ORDERED that the defendant be afforded reasonable
18 opportunity for private consultation with counsel.

19 D. ITIS FURTHER ORDERED that, on order of a Court of the United States or
20 on request of any attorney for the Government, the person in charge of the
21 corrections facility in which the defendant is confined deliver the defendant
22 to a United States marshal for the purpose of an appearance in connection
23 with a court proceeding,

oa | DATED: | o/s | o2)

“8 QQ Moe tc yee es
KINNON

26 ALEXANDER F, Mac
UNITED STATES MAGISTRATE JUDGE

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